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                                                                                 Pg 1 of 14
    Fill in this information to identify the case:


    United States Bankruptcy Court for the:
    Southern                                          District of                   New York
                                                                                    (State)
    Case number (if known):                                             Chapter 11
                                                                                                                                                                        Check if this is an
                                                                                                                                                                         amended filing




 Official Form 201
 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                                   04/20

 If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
 number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

   1.   Debtor’s name                                       All Year Holdings Limited


   2.   All other names debtor used                          N/A
        in the last 8 years

        Include any assumed names, trade
        names, and doing business as
        names




   3.   Debtor’s federal Employer
        Identification Number (EIN)                         XX-XXXXXXX


   4.   Debtor’s address                                   Principal place of business                                             Mailing address, if different from principal
                                                                                                                                   place of business


                                                           199             Lee Avenue, Suite 693                                   12          Spencer Street, 3rd Floor
                                                           Number          Street                                                  Number      Street



                                                                                                                                   P.O. Box


                                                           Brooklyn        New York         11211                                  Brooklyn    New York                  11205
                                                           City            State            ZIP Code                               City        State                     ZIP Code

                                                                                                                                   Location of principal assets, if different from
                                                                                                                                   principal place of business
                                                           Kings
                                                           County
                                                                                                                                   Number      Street




                                                                                                                                   City        State                ZIP Code




   5.   Debtor’s website (URL)                              N/A

   6.   Type of debtor                                      ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                            ☐ Partnership (excluding LLP)

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Debtor         All Year Holdings Limited                                          Case number (if known) 21-_____ ( )
               Name                                                Pg 2 of 14

                                                 ☐ Other. Specify:


                                               A. Check one:
7.   Describe debtor’s business
                                               ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               ☐ Railroad (as defined in 11 U.S.C. § 101(44))
                                               ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                               ☒ None of the above Real Estate Holding Company


                                               B. Check all that apply:

                                               ☐ Tax- exempt entity (as described in 26 U.S.C. § 501)
                                               ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                               ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                               C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                  http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                  5313 – Activities Related to Real Estate


8.   Under which chapter of the
                                               Check one:
     Bankruptcy Code is the
     debtor filing?                            ☐ Chapter 7
                                               ☐ Chapter 9
                                               ☒ Chapter 11. Check all that apply:
     A debtor who is a “small business                          ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D),
     debtor” must check the first sub-box. A                      and its aggregate noncontingent liquidated debts (excluding debts owed to
     debtor as defined in § 1182(1) who                           insiders or affiliates) are less than $2,725,625. If this sub-box is selected,
     elects to proceed under subchapter V                         attach the most recent balance sheet, statement of operations, cash-flow
     of chapter 11 (whether or not the                            statement, and federal income tax return or if any of these documents do
     debtor is a “small business debtor”)                         not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     must check the second sub-box.                             ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate
                                                                  noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $7,500,000 and it chooses to proceed under Subchapter V of
                                                                  Chapter 11. If this sub-box is selected, attach the most recent balance
                                                                  sheet, statement of operations, cash-flow statement, and federal income tax
                                                                  return or if any of these documents do not exist, follow the procedure in 11
                                                                  U.S.C. § 1116(1)(B).
                                                                ☐ A plan is being filed with this petition.
                                                                ☐ Acceptances of the plan were solicited prepetition from one or more classes
                                                                  of creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                                  the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                                  Securities Exchange Act of 1934. File the Attachment to Voluntary Petition
                                                                  for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form
                                                                  201A) with this form.
                                                                ☐ The debtor is a shell company as defined in the Securities Exchange Act of
                                                                  1934 Rule 12b-2.
                                               ☐ Chapter 12


9.   Were prior bankruptcy cases               ☒ No
     filed by or against the debtor
                                               ☐ Yes        District                       When                          Case number
     within the last 8 years?
                                                                                                         MM/ DD/ YYYY
     If more than 2 cases, attach a
     separate list.
                                                            District                       When                          Case number
                                                                                                         MM / DD/ YYYY




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Debtor         All Year Holdings Limited                                       Case number (if known) 21-_____ ( )
               Name                                             Pg 3 of 14

10. Are any bankruptcy cases               ☐ No
    pending or being filed by a
                                           ☒ Yes           Debtor       See Schedule 1                                      Relationship      See Schedule 1
    business partner or an
    affiliate of the debtor?                               District     Southern District of New York                       When              See Schedule 1
     List all cases. If more than 1,                                                                                                          MM / DD/ YYYY
                                                           Case number, if known      See Schedule 1
     attach a separate list.


   11. Why is the case filed in this           Check all that apply:
       district?
                                               ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                    immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                    district.
                                               ☒    A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have
                                           ☒ No
    possession of any real
    property or personal property          ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    that needs immediate
    attention?                                         Why does the property need immediate attention? (Check all that apply.)
                                                       ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                            health or safety.

                                                           What is the hazard?
                                                       ☐    It needs to be physically secured or protected from the weather.
                                                       ☐    It includes perishable goods or assets that could quickly deteriorate or lose value
                                                            without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                            securities-related assets or other options).


                                                       ☐ Other


                                                        Where is the property?
                                                                                        Number                     Street


                                                                                        City                                State               ZIP Code
                                                       Is the property insured?
                                                                                        ☐ No
                                                                                         ☐ Yes. Insurance agency
                                                                                                   Contact Name
                                                                                                   Phone




                Statistical and administrative information



   13. Debtor’s estimation of              Check one:
       available funds                     ☒    Funds will be available for distribution to unsecured creditors.
                                           ☐    After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

   14. Estimated number of                 ☐    1-49                                    ☐      1,000-5,000                          ☐      25,001-50,000
       creditors                           ☐    50-99                                   ☐      5,001-10,000                         ☐      50,001-100,000
                                           ☒    100-199                                 ☐      10,001-25,000                        ☐      More than 100,000
                                           ☐    200-999



Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  Page 3
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Debtor         All Year Holdings Limited                                          Case number (if known) 21-_____ ( )
               Name                                                Pg 4 of 14

   15. Estimated assets                      ☐   $0-$50,000                            ☐     $1,000,001-$10 million              ☐     $500,000,001-$1 billion
         (on a consolidated basis with all   ☐   $50,001-$100,000                      ☐     $10,000,001-$50 million             ☒     $1,000,000,001-$10 billion
         non-debtor subsidiaries)
                                             ☐   $100,001-$500,000                     ☐     $50,000,001-$100 million            ☐     $10,000,000,001-$50 billion
                                             ☐   $500,001-$1 million                   ☐     $100,000,001-$500 million           ☐     More than $50 billion

   16. Estimated liabilities                 ☐   $0-$50,000                            ☐     $1,000,001-$10 million              ☐     $500,000,001-$1 billion
         (on a consolidated basis with all   ☐   $50,001-$100,000                      ☐     $10,000,001-$50 million             ☒     $1,000,000,001-$10 billion
         non-debtor subsidiaries)
                                             ☐   $100,001-$500,000                     ☐     $50,000,001-$100 million            ☐     $10,000,000,001-$50 billion
                                             ☐   $500,001-$1 million                   ☐     $100,000,001-$500 million           ☐     More than $50 billion



                Request for Relief, Declaration, and Signatures


 WARNING − Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
 $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

     17. Declaration and signature of                  The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
         authorized representative of                   this petition.
         debtor
                                                       I have been authorized to file this petition on behalf of the debtor.

                                                       I have examined the information in this petition and have a reasonable belief that the information is
                                                        true and correct.
                                                        I declare under penalty of perjury that the foregoing is true and correct.

                                                            Executed on         December 14, 2021
                                                                                MM / DD/ YYYY



                                                                                                                       Assaf Ravid
                                                             Signature of authorized representative of                  Printed name
                                                             debtor

                                                             Chief Executive Officer
                                                             and Chief Restructuring Officer
                                                             Title


     18. Signature of attorney                          /s/ Gary T. Holtzer                                          Date      December 14, 2021
                                                         Signature of attorney for debtor                                       MM / DD/ YYYY

                                                         Gary T. Holtzer
                                                         Printed Name

                                                         Weil, Gotshal & Manges LLP
                                                         Firm Name

                                                         767 Fifth Avenue
                                                         Address

                                                         New York, New York 10153
                                                         City/State/Zip

                                                         (212) 310-8000
                                                         Contact Phone

                                                         gary.holtzer@weil.com
                                                         Email Address

                                                         2401859                              New York
                                                         Bar Number                          State




Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               Page 4
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                                            Schedule 1

                    Pending Bankruptcy Cases Filed by the Parent Debtor
                             and Affiliates of the Parent Debtor

                On the date hereof, All Year Holdings Limited (the “Parent Debtor”) filed a
voluntary case for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”) in the United States Bankruptcy Court for the Southern District of New York (the
“Bankruptcy Court”). On February 22, 2021, Evergreen Gardens Mezz LLC (“EGM”) filed a
voluntary petition with the Bankruptcy Court for relief under chapter 11 of the Bankruptcy
Code. On September 14, 2021, Evergreen Gardens I LLC (“EG I”) and Evergreen Gardens II
LLC (“EG II” and, together with EGM and EG I, the “Evergreen Debtors”) each filed voluntary
petitions with the Bankruptcy Court for relief under chapter 11 of the Bankruptcy Code. Each of
the Evergreen Debtors is a wholly-owned, indirect subsidiary of the Parent Debtor. The Evergreen
Debtors’ chapter 11 cases are being jointly administered for procedural purposes only, pursuant to
Rule 1015(b) of the Federal Rules of Bankruptcy Procedure, under the lead case In re Evergreen
Gardens Mezz LLC, Case No. 21-10335 (MG).

              On November 5, 2021, the Bankruptcy Court entered an order [ECF No. 222]
confirming the joint chapter 11 plan for the Evergreen Debtors [ECF No. 187] (the “Evergreen
Plan”). The Evergreen Plan became effective and was substantially consummated on
December 2, 2021.
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 Fill in this information to identify the case:

 Debtor name: All Year Holdings Limited
 United States Bankruptcy Court for the Southern District of New York
                                               (State)
 Case number (If known):      21-_____ ( )                                                                                                              ☐ Check if this is an
                                                                                                                                                             amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims
and Are Not Insiders                                                               12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes.
Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors,
unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims. 1

 Name of creditor and complete mailing address,            Name, telephone number, and                Nature of the          Indicate if        Amount of unsecured claim
 including zip code                                        email address of creditor contact          claim (for             claim is           If the claim is fully unsecured, fill in only
                                                                                                      example, trade         contingent,        unsecured claim amount. If claim is partially
                                                                                                      debts, bank loans,     unliquidated,      secured, fill in total claim amount and deduction
                                                                                                      professional           or disputed        for value of collateral or setoff to calculate
                                                                                                      services, and                             unsecured claim.
                                                                                                      government
                                                                                                      contracts)
                                                                                                                                                Total         Deduction         Unsecured claim
                                                                                                                                                claim, if     for value of
                                                                                                                                                partially     collateral or
                                                                                                                                                secured       setoff
 1.    Mishmeret Trust Company Ltd.                        Attn: Michael Friedman, Esq.               Series D                                                                  ILS 562,912,019
       Of 48 Derech Menachem Begin                         Telephone: +1 212 655 2508                 Debentures                                                                ($181,525,965)
       Tel Aviv-Yafo, Israel 6618003                       Fax: +1 212 697 7210
                                                           Email: friedman@chapman.com

 2.    Mishmeret Trust Company Ltd.                        Attn: Michael Friedman, Esq.               Series B                                                                  ILS 440,161,597
       Of 48 Derech Menachem Begin                         Telephone: +1 212 655 2508                 Debentures                                                                ($141,941,824)
       Tel Aviv-Yafo, Israel 6618003                       Fax: +1 212 697 7210
                                                           Email: friedman@chapman.com

 3.    Mishmeret Trust Company Ltd.                        Attn: Michael Friedman, Esq.               Series E                                                                  ILS 106,433,061 2
       Of 48 Derech Menachem Begin                         Telephone: +1 212 655 2508                 Debentures                                                                ($34,322,174)
       Tel Aviv-Yafo, Israel 6618003                       Fax: +1 212 697 7210
                                                           Email: friedman@chapman.com

 4.    Mishmeret Trust Company Ltd.                        Attn: Michael Friedman, Esq.               Series C                                                                  ILS 641,606,871 3
       Of 48 Derech Menachem Begin                         Telephone: +1 212 655 2508                 Debentures                                                                ($206,903,215)
       Tel Aviv-Yafo, Israel 6618003                       Fax: +1 212 697 7210
                                                           Email: friedman@chapman.com

 5.    Downtown Capital Partners, LLC                      Attn.: Frank Reddick                       Preferred Equity       Contingent,                                        $56,900,000
       360 Hamilton Avenue, Suite 1110                     Phone: +1 310 728 3204                     Guaranty               Unliquidated,
       White Plains, New York 10601                        Fax: +1 310 229 1001                                              and Disputed
                                                           Email: freddick@akingump.com

 6.    DCP Kings Point LLC                                 Attn.: Frank Reddick                       Mezzanine Loan         Contingent,                                        $3,600,000
       360 Hamilton Avenue, Suite 1110                     Phone: +1 310 728 3204                     Guaranty               Unliquidated,
       White Plains, New York 10601                        Fax: +1 310 229 1001                                              and Disputed
                                                           Email: freddick@akingump.com




1 Unsecured claim amounts for Mishmeret Trust Company Ltd. are as of December 13, 2021 and were converted from ILS to USD on the same date.


2 Pursuant to the Evergreen Debtors’ joint chapter 11 plan, which became effective and was substantially consummated on December 2, 2021, the holders of the allowed Series E Bond claims received

a distribution from EG II on account of such allowed claims. The claim amount provided herein reflects the Series E Bondholders’ deficiency claim against the Parent Debtor, as a co-obligor under the
Series E Bonds. The Series E Bondholders, however, have indicated that they may assert a claim against the Parent Debtor for all principal and unpaid interest on the Series E Bonds.
3 The Series C Debentures were secured by a mortgage delivered by a subsidiary of the Parent Debtor, which jointly owns a property located in Brooklyn, New York, known as the William Vale. The

mortgage secured by the William Vale was made in favor of the Parent Debtor and further secured by a collateral assignment of such mortgage in favor of the Series C Debentures which was subsequently
assigned in March, 2021 to Mishmeret Trust Company Ltd., as trustee for the Series C Debentures.


 Official Form 204                                          List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders                                               Page 1
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  Debtor      All Year Holdings Limited                                                                             Case number (if known)             21_____ ( )
              Name

 7.    Taz Partners LLC                                     Attn: Ira Lipsius                         Confession of           Contingent,                                        $37,870,000 4
       22 Pleasant Ridge Road                               Phone: +1 212 981 8442                    Judgment                Unliquidated,
       Spring Valley, New York 10977                        Email: iral@lipsiuslaw.com                                        and Disputed


 8.    MREF REIT Lender 9 LLC                               Attn.: Kizzy L. Jarashow                  Claims Related to       Contingent,                                        Unknown
       60 Columbus Circle, 20th Floor                       Phone: +1 212 459 7338                    Mezzanine Loan          Unliquidated,
       New York, NY 10023                                   Email: kjarashow@goodwinlaw.com                                   and Disputed


 9.    Blank Rome LLP                                       Attn.: Stephen E. Tisman                  Legal Fees              Unliquidated                                       Unknown
       1271 Avenue of the Americas                          Phone: +1 212 885 5581
       New York, New York 10020                             Email: stisman@blankrome.com




4 Prior to the date hereof, a confession of judgment in favor of Taz Partners LLC was unilaterally entered into by the Sole Shareholder on behalf of the Parent Debtor. On December 9, 2021, a judgment

in the amount of $37,870,000 in connection with that certain confession of judgment was entered by the clerk for the Kings County Supreme Court.


 Official Form 204                                          List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders                                                Page 2
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                                        LIST OF EQUITY HOLDERS 5

                  Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the

following is a list of the equity security holders of All Year Holdings Limited, as debtor and debtor

in possession (the “Parent Debtor”).

Check applicable box:

☐      There are no equity security holders or corporations that directly or indirectly own 10% or
more of any class of the Parent Debtor’s equity interest.

☒       The following are the Parent Debtor’s equity security holders (list holders of each class,
        showing the number and kind of interests registered in the name of each holder, and the last
        known address or place of business of each holder):

       Name and Last Known Address or Place of                            Kind/Class of               Number of
                 Business of Holder                                         Interest                Interests Held

                         Yoel Goldman
                        141 Skillman St                                  Common Equity                    100%
                      Brooklyn, NY 11205

           Assaf Ravid and Ephraim Diamond 6
         Chief Restructuring Officer and Associate
                  Restructuring Officer,
                                                                          Class A Equity                  100%
                All Year Holdings Limited
               12 Spencer Street, 3rd Floor
                Brooklyn, New York 11205




5
     This list serves as the required disclosure by the Parent Debtor pursuant to Rule 1007 of the Federal Rules of
     Bankruptcy Procedure. All equity positions listed are as of the date of commencement of the Parent Debtor’s chapter
     11 case.
6
     Mr. Yoel Goldman is the Parent Debtor’s founder and sole economic shareholder. However, Mr. Assaf Ravid, as
     Chief Executive Officer and Chief Restructuring Officer, and Mr. Ephraim Diamond, as Associate Restructuring
     Officer, hold a Class A voting share (the “Class A Share”), which entitles them to vote on appointment or removal
     of the directors of the Parent Debtor, but confers no other voting rights. The voting rights are set to expire at 11:59
     pm (Eastern Time) on January 4, 2022. The Class A share is entitled to $1.00 upon the liquidation of All Year
     Holdings but confers no right to participate in any dividend or other distribution of the Parent Debtor at any time.
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 Fill in this information to identify the case:

 Debtor name: All Year Holdings Limited
 United States Bankruptcy Court for the Southern District of New York
                                                  (State)
 Case number (If known):       21-_____ ( )




Official Form 202
  Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                 12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign
and submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not
included in the document, and any amendments of those documents. This form must state the individual’s position or
relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



            Declaration and signature


   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
   partnership; or another individual serving as a representative of the debtor in this case.
   I have examined the information in the documents checked below and I have a reasonable belief that the information
   is true and correct:
   ☐       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
   ☐       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
   ☐       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
   ☐       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
   ☐       Schedule H: Codebtors (Official Form 206H)
   ☐       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
   ☐       Amended Schedule ____
          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not
           Insiders (Official Form 204)
          Other document that requires a declaration List of Equity Holders

   I declare under penalty of perjury that the foregoing is true and correct.



     Executed on December 14, 2021                  
                    MM / DD / YYYY                          Signature of individual signing on behalf of debtor

                                                            Assaf Ravid
                                                            Printed name

                                                            Chief Executive Officer and Chief Restructuring Officer
                                                            Position or relationship to debtor




     Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
